Case 2:05-cv-02384-SHI\/|-dkv Document 4 Filed 08/19/05 Page 1 of 4 Page|D 10

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IN THE UNITED sTATEs DISTRICT CoURT FoR THE
WESTERN I)ISTRICT oF TENNESSEE, WESTERN Dlvlsldl~$ AUG | 9 PH 3= 113

 

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WlLLlE MAE THol\/lAs, as legal guardian for CLE§I,‘§` L,*-;§ U`-’;,_~§DEQUHT
PATRICIA BRlANA THoMAs, the enly child W L” ~ l *'*'°
and next of` kin for TIJUANA THOMAS, deceased,

   

Plaintiffs, No. 05~2384 MAV

V.

HQM of MEMPHIS, L.L.C. d/b/a

MEMPHIS HEALTH CARE AND REHABILITATION
CENTER, HOME QUALITY MANAGEMENT, INC.,
HCD LICENSE, LLC d/b/a SYCAMORE VIEW CARE
& REHABILITATION CENTER, and SYCAMORE
MANAGEMENT SERVICES, LLC,

Defendants.

 

SCHEDULING ORDER

 

PURSUANT TO WRITTEN NOTICE, the Scheduling Conference was
held on August 17, 2005. Present Were Parke Morris, counsel for Plaintiff, and Kimberly
Shields, counsel for the defendants HQM of Memphis d/b/a Memphis Health Care and
Rehabilitation Center, Home Quality Managernent, lnc., HCD License, LLC d/b/a
Syeanlol'e View Care & Rehabilitatiorl Cerlter, and Sycamore Management Services,
LLC, At the conference, the following dates Were established the final dates for:

l . Initial Disclosure pursuant to Federal Rules of Civil Procedure 26(a)(l):

September 7, 2005.

2. Joining parties: October 17, 2005.
3. Amending pleadings: October 17, 2005.
4. Initial motions to dismiss: November 17, 2005.
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Case 2:05-cv-02384-SHI\/|-dkv Document 4 Filed 08/19/05 Page 2 of 4 Page|D 11

5. Cornpleting all discovery: April 14, 2006.

a. document production: January 16, 2006.
b. interrogatories and request for admissions: January 16, 2006.
c. Depositions: April 14, 2006.
d. Expert witness disclosure (Rule 26)
i. disclosure of Plaintiff" s Rule 26 expert information:

February 14, 2006.
ii. disclosure of Defendant’s Rule 26 expert infonnation:
March 14, 2006.
ii. expert witness depositions:
plaintiffs expert: April 14, 2006.
defendant’s expert: April 14, 2006.
6. Filing dispositive motions: May 12, 2006.

7. Other relevant matters:

No depositions may be scheduled to occur after the discovery cut-off date, All
motions, request for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cut-off date to enable opposing counsel to
respond by the time permitted by the rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or the service of the response, answer, or objection which
is the subject of the motion. If a default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown or the
objection to the default, response, answer, or objection shall be Waived.

This case is set for a jury trial, the pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge. lt is anticipated that the trial will last

approximately 5 days.

Case 2:05-cv-02384-SHI\/|-dkv Document 4 Filed 08/19/05 Page 3 of 4 Page|D 12

This case is appropriate for ADR. The parties are directed to engage in coult,
annexed attorney mediation, or private mediation before close of discovery.

The parties are reminded that, pursuant to local Rule l l(a)(l)(a), all motions,
except motions pursuant to Federal Rules of Civil Procedures 1256, 59, and 60 shall be
accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be
modified or extended

IT IS SO ORDERED.

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DIANE K. vEsCovo
UNITED sTATEs lleGlsTRATE JUDGE
DATE: Q',¢,(_;,¢,¢u‘ /f, proof

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-023 84 was distributed by fax, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

.limmy Moore

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Honorable Sarnuel Mays
US DISTRICT COURT

